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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY CIENIAWA,

Plaintiff,
v.

TROOPER BRIAN PALL,
TROOPER MICHAEL FOUX,
TROOPER LARRY MCDANIEL,
OFFICER CHRIST()PHER
ZUKOWSKY, CAPTAIN DAVID
DOUGALAS, BOROUGH OF
WEST HAZLETON d/b/a WEST
HAZLETON POLICE
DEPARTMENT, AND CHIEF
BRIAN BUGLI(),

Defendants.

No. 3:17-CV-0796
Honorable Robert D. Mariani

Electronically Filed Document

ORDER

AND Now, this :WY_Zf'day 0 M 2018, upon

consideration of the Joint Motion for Extension of Time to Discovery Deadline and
Dispositive Motions that the Motion is GRANTED. The discovery and dispositive

motion deadline are extended by sixty (60) days, until June 2, 2018 for discovery

and July 2, 2018 for dispositive motions.

 

 

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doNORABeE ROBERT D. MARIANI
United States District Judge

 

 

